Case 2:22-bk-16624-WB    Doc 46 Filed 05/17/23 Entered 05/17/23 21:43:53    Desc
                         Main Document    Page 1 of 16


 1   Michael A. Bowse (SBN 189659)
     mbowse@bowselawgroup.com
 2   BOWSE LAW GROUP, A.P.C.
     811 Wilshire Blvd., 17th Floor
 3   Los Angeles, CA 90017
     Phone/Fax: (213) 344-4700
 4
     Attorney for Debtor
 5   Global Merch Group, LLC
 6

 7

 8                      UNITED STATES BANKRUPTCY COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                             LOS ANGELES DIVISION
11

12   In re:                                  Case No. 2:22−bk−16624−WB
13   GLOBAL MERCH GROUP, LLC,                Chapter 11
14             Debtor.                       DEBTOR’S OPPOSITION TO
                                             MOTION TO DISMISS;
15                                           DECLARATION IN SUPPORT;
                                             EXHIBITS 1-2
16

17
                                             Petition filed: Dec. 5, 2022
18
                                             Requested New Deadline: Jan. 6, 2023
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      OPPOSITION TO MOTION TO DISMISS CASE
Case 2:22-bk-16624-WB     Doc 46 Filed 05/17/23 Entered 05/17/23 21:43:53      Desc
                          Main Document    Page 2 of 16


 1         Debtor Global Merch Group, LLC strenuously opposes the Trustee’s motion
 2   to dismiss. That motion is based on a misunderstanding of the true facts underlying
 3   this proceeding – particularly the existence creditors with claims against the Debtor.
 4   The Trustee is confusing (or conflating) two separate lawsuits against two separate
 5   entities. One of those lawsuits (not referenced in the Trustee’s motion) was against
 6   Debtor and has already resulted in a $2,541,205.86 judgment against Debtor. The
 7   other lawsuit (the one referenced in the Trustee’s motion) is a separate proceeding
 8   to which Debtor is not a party at all.
 9         Debtor is a Nevada entity formed pursuant to that state’s laws on August 5,
10   2021. Debtor’s principal creditor – New High Ltd. – obtained a judgment against
11   Debtor from the District Court for the Central District of California on July 26,
12   2022. The amount of that judgment is $2,541,205.86. See Ex. 1 hereto (Judgment
13   in C.D. Cal. Case No. 2:21-cv-09608-CAS-PVC). That judgment was sought and
14   obtained against Debtor and no other person or entity. See Ex. 2 hereto (Complaint
15   in 2:21-cv-09608-CAS-PVC), at ¶5 (“Global Merch Group, LLC … is a limited
16   liability company organized and existing under the laws of the State of Nevada….”)
17   That judgment drove Debtor’s bankruptcy petition.
18         Although there is a Texas entity now named Global Med Group, LLC that
19   was originally formed as Global Merch Group, LLC, it and Debtor are different
20   entities, formed in different states (Texas vs. Nevada). Likewise, although there is
21   a pending counterclaim by New High Ltd. against that entity, that counterclaim is
22   not the basis for Debtor’s bankruptcy petition. Debtor is not even a party in that
23   action. The Counterclaim referred to in the Trustee’s motion is against the Texas
24   entity named Global Med Group, LLC, not Debtor (the Nevada entity). See Ex. B to
25   Trustee’s Motion (Counterclaim in C.D. Cal. Case No. 2:22-cv-06031-CAS-PVC)
26   at ¶5 (“Counter-Defendant Global Med Group, LLC … is a limited liability
27   company organized under the laws of the State of Texas….”)
28         Indeed, New High made clear in its lawsuit against Debtor that its claims in

                                        2
      OPPOSITION TO MOTION TO DISMISS CASE
Case 2:22-bk-16624-WB     Doc 46 Filed 05/17/23 Entered 05/17/23 21:43:53        Desc
                          Main Document    Page 3 of 16


 1   that lawsuit were directed against Debtor not the Texas entity, Global Med Group,
 2   LLC. See Ex. 2 hereto, at ¶6 (“Purchase Orders for PPE were issued under the
 3   name of Merch’s affiliate, Global Med Group, LLC, but the PPE was delivered to
 4   Merch and invoiced to Merch” [New High defined “Merch” to mean Debtor, the
 5   Nevada entity named Global Merch Group, LLC. See id. at ¶5]).
 6         Thus, the Trustee is mistaken that Debtor has no scheduled creditors. While
 7   it is true that Debtor is not a party to the Counterclaim referenced in the Trustee’s
 8   motion, that Counterclaim was not the basis for Debtor’s bankruptcy petition.
 9   Rather, the basis for Debtor’s petition is the $2,541,205.86 judgment New High
10   obtained in its separate lawsuit against Debtor.
11         Debtor is in the process of preparing tax returns for tax years 2021 and 2022.
12   Those returns should be complete and filed within the next few weeks. Once they
13   are filed, copies will be provided to the Trustee.
14

15
      DATED: May 17, 2023                     BOWSE LAW GROUP, A.P.C.

16
                                              By:   /s/ Michael A. Bowse
17                                                  Michael A. Bowse
18
                                              Attorney for Debtor Global Merch Group,
19                                            LLC
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      OPPOSITION TO MOTION TO DISMISS CASE
Case 2:22-bk-16624-WB      Doc 46 Filed 05/17/23 Entered 05/17/23 21:43:53        Desc
                           Main Document    Page 4 of 16


 1                        DECLARATION OF MICHAEL A. BOWSE
 2           I, Michael A. Bowse, declare as follows:
 3           1.    I am an attorney duly licensed to practice law in the State of California
 4   and before this Court. I am counsel for debtor Global Merch Group, LLC (a
 5   Nevada limited liability company) (“Debtor”). I am also the Executive General
 6   Counsel of the Debtor. I make this declaration based upon my own personal
 7   knowledge.
 8           2.    Debtor Global Merch Group, LLC is a Nevada limited liability
 9   company, formed under the laws of the State of Nevada on August 5, 2021. It is
10   not now and never has been a Texas entity.
11           3.    Attached hereto as Exhibit 1 is a true and correct copy of the Judgment
12   entered against Debtor in C.D. Cal. Case No. 2:21-cv-09608-CAS-PVC on July 26,
13   2022.
14           4.    Attached hereto as Exhibit 2 is a true and correct copy of the complaint
15   filed by New High Ltd. against Debtor in C.D. Cal. Case No. 2:21-cv-09608-CAS-
16   PVC on December 10, 2021.
17           5.    Debtor has not yet filed tax returns for tax years 2021 or 2022. Debtor
18   is in the process of completing those returns and expects them to be filed within the
19   next few weeks. When they are completed and filed, copies will be provided to the
20   Trustee.
21           Executed this 17th day of May, 2023, at Los Angeles, California.
22           I declare under penalty of perjury that the foregoing is true and correct.
23

24                                            /s/ Michael A. Bowse_______________
25                                            Michael A. Bowse
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Case 2:22-bk-16624-WB   Doc 46 Filed 05/17/23 Entered 05/17/23 21:43:53   Desc
                        Main Document    Page 5 of 16




                            EXHIBIT 1
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 Case2:21-cv-09608-CAS-PVC
       2:22-bk-16624-WB DocDocument
                            46 Filed28
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                                        Filed 07/26/22
                                                Entered 05/17/23
                                                        Page 1 of21:43:53
                                                                  2 Page IDDesc
                                                                            #:165
                         Main Document   Page 6 of 16


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   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
 10                                  WESTERN DIVISION
 11
 12    NEW HIGH LIMITED, a Hong Kong                 Case No. 2:21-cv-09608-CAS-PVCx
 13    corporation,                                  Hon. Christina A. Snyder

 14                 Plaintiff,                       JUDGMENT BY DEFAULT AS
 15                                                  TO DEFENDANT GLOBAL
            v.                                       MERCH GROUP, LLC
 16
 17    GLOBAL MERCH GROUP, LLC, a
       Nevada limited liability company,
 18
 19                 Defendant.

 20
 21          Based upon the Court’s full consideration of the record including the
 22    Complaint, the pleadings, memoranda, declarations and moving papers in support of
 23    Plaintiff New High Limited’s (“Plaintiff”) Motion for Default against Defendant
 24    Global Merch Group, LLC (“Defendant”), the documents presented therein and
 25    throughout this action, and as set forth in full in the Court’s Minute Order dated July
 26    22, 2022 (Dkt. No. 26), the Court finds as follows:
 27          WHEREAS, Defendant was properly served in this action but has not
 28    responded to the Complaint;

                                 [PROPOSED] JUDGMENT BY DEFAULT
Case
 Case2:21-cv-09608-CAS-PVC
       2:22-bk-16624-WB DocDocument
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                                        Filed 07/26/22
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                                                        Page 2 of21:43:53
                                                                  2 Page IDDesc
                                                                            #:166
                         Main Document   Page 7 of 16


   1         WHEREAS, Plaintiff has met all the conditions necessary for entry of default
   2   judgment pursuant to Federal Rules of Civil Procedure 55 and Local Rule 55; and
   3         WHEREAS, based on the pleadings, evidence, and papers submitted,
   4   Plaintiff is entitled to damages for its causes of action for (1) breach of the
   5   agreements created by Defendant’s purchase orders, Plaintiff’s invoices and goods
   6   properly identified to the parties’ agreements; (2) account stated; and (3) goods sold
   7   and delivered;
   8         IT IS HEREBY ORDERED, ADJUDGED AND DECREED as follows:
   9         The Motion for Default Judgment is hereby granted, and Default Judgment is
 10    entered in favor of New High Limited against Global Merch Group in the sum of
 11    $2,539,603.86.
 12          New High Limited is also awarded its attorneys’ fees in the amount of
 13    $1,200.00 pursuant to Cal. Civ. Proc. Code section 1717.5(a), and costs in the
 14    amount of $402.00. Accordingly, the total amount awarded to New High Limited is
 15    $2,541,205.86
 16          IT IS SO ORDERED.
 17
 18    Date: July 26, 2022
 19
                                               Hon. Christina A. Snyder
 20                                            United States District Judge
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                                [PROPOSED] JUDGMENT BY DEFAULT
Case 2:22-bk-16624-WB   Doc 46 Filed 05/17/23 Entered 05/17/23 21:43:53   Desc
                        Main Document    Page 8 of 16




                            EXHIBIT 2
Case 2:21-cv-09608-CAS-PVC
     2:22-bk-16624-WB Doc 46Document
                                Filed 05/17/23
                                       1 Filed 12/10/21
                                                Entered 05/17/23
                                                         Page 1 of21:43:53
                                                                   7 Page ID
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                        Main Document     Page 9 of 16


 1   LAWRENCE J. HILTON (Bar No. 156524)
     Email: lhilton@onellp.com
 2   ROBERT D. HUNT (Bar No. 247802)
     Email: rhunt@onellp.com
 3   ONE LLP
     23 Corporate Plaza, Suite 150-105
 4   Newport Beach, CA 92660
     Telephone: (949) 502-2870
 5   Facsimile: (949) 258-5081
 6   Attorneys for Plaintiff,
     NEW HIGH LIMITED
 7
 8
 9
10                        UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12
13   NEW HIGH LIMITED, a Hong Kong              Case No.
14   corporation,
                                                COMPLAINT FOR:
15               Plaintiff,                     (1) BREACH OF CONTRACT;
16                                              (2) ACCOUNT STATED; AND
          v.                                    (3) GOODS SOLD AND
17                                                  DELIVERED
18   GLOBAL MERCH GROUP, LLC, a
     Nevada limited liability company,          DEMAND FOR JURY TRIAL
19
20               Defendant.

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Case 2:21-cv-09608-CAS-PVC
     2:22-bk-16624-WB Doc 46 Document
                                Filed 05/17/23
                                       1 Filed 12/10/21
                                                Entered 05/17/23
                                                         Page 2 of21:43:53
                                                                   7 Page ID
                                                                           Desc
                                                                             #:2
                        Main Document     Page 10 of 16


 1          For its complaint against Defendant Global Merch Group, LLC, Plaintiff New
 2   High Limited (“Plaintiff” or “New High”) hereby alleges as follows:
 3                               JURISDICTION AND VENUE
 4          1.     This Court has jurisdiction over the subject matter of this action
 5   pursuant to 28 U.S.C. § 1332(a)(2) in that the action involves a plaintiff that is a
 6   citizen of a foreign state, Hong Kong, and a Defendant is a citizen of a State of the
 7   United States. The amount in controversy, exclusive of interest and costs, exceeds
 8   $75,000.
 9          2.     This Court has personal jurisdiction over Defendant because Defendant
10   resides in this District.
11          3.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1) in
12   that Defendant resides in this District. Venue is also proper in this district under 28
13   U.S.C. § 1391(b)(2) in that a substantial part of the events or omissions giving rise
14   to the claim occurred in this District.
15                                       THE PARTIES
16          4.     Plaintiff New High Limited is a corporation organized and existing
17   under the laws of Hong Kong and having its principal place of business in Hong
18   Kong. New High is in the business of selling apparel and personal protective
19   equipment (“PPE”), including the exportation of apparel and PPE into the United
20   States and into the State of California.
21          5.     Plaintiff is informed and believes and, on that basis, alleges that
22   Defendant Global Merch Group, LLC (“Merch”) is a limited liability company
23   organized and existing under the laws of the State of Nevada, having its principal
24   place of business in Las Vegas, Nevada. Plaintiff is informed and believes, and on
25   that basis alleges, that all of Merch’s members maintain their domicile in one or
26   more States of the United States.
27   ///
28   ///
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Case 2:21-cv-09608-CAS-PVC
     2:22-bk-16624-WB Doc 46 Document
                                Filed 05/17/23
                                       1 Filed 12/10/21
                                                Entered 05/17/23
                                                         Page 3 of21:43:53
                                                                   7 Page ID
                                                                           Desc
                                                                             #:3
                        Main Document     Page 11 of 16


 1                               GENERAL ALLEGATIONS
 2         6.     New High began selling and shipping products to Merch in January
 3   2020. For each transaction involving apparel, Merch would issue a Purchase Order.
 4   Purchase Orders for PPE were issued under the name of Merch’s affiliate, Global
 5   Med Group, LLC, but the PPE was delivered to Merch and invoiced to Merch. Each
 6   of the Purchase Orders included a description of the garments or PPE, the quantities,
 7   the unit price and the total price.
 8         7.     Each time New High shipped products to Merch, New High provided
 9   Merch with an invoice that included information about the number of pieces
10   shipped, a specific description of the goods, the unit price and total amount due, and
11   payment instructions.
12         8.     Merch has failed to pay the amounts due for sales of the apparel and
13   PPE delivered to Merch in the current amount of $1,451,168.49, exclusive of
14   interest and costs. The amount currently due and owing for apparel delivered to
15   Merch is $965,515.74, exclusive of interest and costs. The amount currently due for
16   PPE delivered to Merch is $485,652.75, exclusive of interest and costs.
17         9.     Merch has also wrongfully cancelled purchases for goods with an
18   agreed value of $176,797.50 after the goods were produced by New High and
19   identified to contracts with Merch.
20         10.    In July 2021, Merch issued Purchase Orders for additional apparel with
21   a value of $688,670.55, which apparel is currently being produced by New High
22   (the “WIP Goods”) and has been identified to the contracts with Merch.
23                               FIRST CLAIM FOR RELIEF
24                               (Breach of Written Contracts)
25         11.    Plaintiff realleges and incorporates herein by this reference as though
26   set forth in full each and every allegation contained in paragraphs 1 through 10,
27   inclusive.
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                                           COMPLAINT
Case 2:21-cv-09608-CAS-PVC
     2:22-bk-16624-WB Doc 46 Document
                                Filed 05/17/23
                                       1 Filed 12/10/21
                                                Entered 05/17/23
                                                         Page 4 of21:43:53
                                                                   7 Page ID
                                                                           Desc
                                                                             #:4
                        Main Document     Page 12 of 16


 1         12.    Merch ordered goods from New High and issued written Purchase
 2   Orders reflecting its orders.
 3         13.    New High shipped certain of the goods to Merch and issued written
 4   invoices for the goods it shipped. Each Invoice reflects the amounts are due. The
 5   WIP Goods were specially ordered, and production is in progress.
 6         14.    Merch cancelled orders for goods after the goods had been produced by
 7   New High and identified to contracts with Merch.
 8         15.    New High has fully performed its obligations under the Purchase
 9   Orders except for such obligations as were excused by Defendant’s breach. Merch
10   did not timely (or ever) object to or dispute in any way, the Invoices or the amounts
11   due as reflected in the Invoices.
12         16.    Nevertheless, Merch has breached each of the Invoices by failing to
13   pay the amounts due.
14         17.    As a direct and proximate result of Merch’s breach, New High has been
15   damaged in the amount of each of the Invoices for goods that have been delivered,
16   in an amount to be proved at trial but at least $1,451,168.49, plus the value of the
17   WIP Goods that are in process and the value of the goods for which Merch
18   wrongfully cancelled the orders after the goods were produced, together with any
19   recoverable incidental damages less any expenses saved in consequence of Merch’s
20   breach in an amount to be proved at trial, plus interest, costs, attorneys’ fees and
21   such other sums as may be proved at trial.
22                             SECOND CLAIM FOR RELIEF
23                                       (Account Stated)
24         18.    Plaintiff realleges and incorporates herein by this reference as though
25   set forth in full each and every allegation contained in paragraph 1 through 17,
26   inclusive.
27   ///
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Case 2:21-cv-09608-CAS-PVC
     2:22-bk-16624-WB Doc 46 Document
                                Filed 05/17/23
                                       1 Filed 12/10/21
                                                Entered 05/17/23
                                                         Page 5 of21:43:53
                                                                   7 Page ID
                                                                           Desc
                                                                             #:5
                        Main Document     Page 13 of 16


 1         19.    On or about October 29, 2021, an account was stated in writing by and
 2   between Merch and New High, and on such statement a balance of $1,451,168.49
 3   was found to be due to New High from Merch.
 4         20.    Further, an account was stated for each of the invoices New High sent
 5   to Merch, which Merch never objected to or disputed any part of the written account
 6   stated.
 7         21.    Although demanded by New High from Merch, neither all nor any part
 8   of the agreed balance has been paid.
 9         22.    There is now due, owing, and unpaid from Merch to New High the sum
10   of $1,451,168.49, together with interest thereon at the rate of ten percent (10%) per
11   year from and after the date the account was stated.
12                                 THIRD CLAIM FOR RELIEF
13                                  (Goods Sold and Delivered)
14         23.    Plaintiff realleges and incorporates herein by this reference as though
15   set forth in full each and every allegation contained in paragraph 1 through 22,
16   inclusive.
17         24.    During the past two years, at Vernon, California, Defendant Merch
18   became indebted to New High in the sum of $1,451,168.49 for goods sold and
19   delivered at a fixed price.
20         25.    New High has repeatedly demanded payment from Merch. The last
21   demand was made on October 1, 2021.
22         26.    The value of the goods sold and delivered by New High to Merch is
23   $1,451,168.49, but Merch has failed to pay that sum or any part of it, leaving the full
24   balance, with interest on that amount at the rate of percent per year from and after
25   October 29, 2021.
26   ///
27   ///
28   ///
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Case 2:21-cv-09608-CAS-PVC
     2:22-bk-16624-WB Doc 46 Document
                                Filed 05/17/23
                                       1 Filed 12/10/21
                                                Entered 05/17/23
                                                         Page 6 of21:43:53
                                                                   7 Page ID
                                                                           Desc
                                                                             #:6
                        Main Document     Page 14 of 16


 1                                 PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
 3         1.     That the Court enter judgment in favor of Plaintiff and against
 4   Defendant;
 5         2.     That the Court award Plaintiff compensatory damages for all amounts
 6   due and owing to Plaintiff for the goods produced for Merch, for goods sold and
 7   delivered to Merch and for damages incurred due to Merch’s wrongful cancellation
 8   of Purchase Orders in an amount to be proved at trial but at least $2,316,636.54;
 9         3.     That the Court grant Plaintiff appropriate provisional relief, including a
10   right to attach order and writ of attachment;
11         4.     That the Court award Plaintiff prejudgment interest in the amount
12   allowed by applicable law;
13         5.     That the Court award Plaintiff its costs and reasonable attorneys’ fees
14   as allowed under applicable law; and
15         6.     For such other and further relief as the Court deems just and proper.
16
17   Dated: December 10, 2021               ONE LLP
18
                                            By: /s/ Lawrence J. Hilton
19
                                                Lawrence J. Hilton
20                                              Robert D. Hunt
                                                Attorneys for Plaintiff,
21
                                                New High Limited
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                                          COMPLAINT
Case 2:21-cv-09608-CAS-PVC
     2:22-bk-16624-WB Doc 46 Document
                                Filed 05/17/23
                                       1 Filed 12/10/21
                                                Entered 05/17/23
                                                         Page 7 of21:43:53
                                                                   7 Page ID
                                                                           Desc
                                                                             #:7
                        Main Document     Page 15 of 16


 1                              DEMAND FOR JURY TRIAL
 2         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
 3   demands a jury trial on all issues triable to a jury.
 4
 5   Dated: December 10, 2021                 ONE LLP
 6
                                              By: /s/ Lawrence J. Hilton
 7
                                                  Lawrence J. Hilton
 8                                                Robert D. Hunt
                                                  Attorneys for Plaintiff,
 9
                                                  New High Limited
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Case 2:22-bk-16624-WB       Doc 46 Filed 05/17/23 Entered 05/17/23 21:43:53                Desc
                            Main Document    Page 16 of 16


 1                                PROOF OF SERVICE OF DOCUMENT

 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
     business address is: 811 Wilshire Blvd., 17th Floor, Los Angeles, California 90017
 3
     A true and correct copy of the foregoing document entitled (specify): DEBTOR’S OPPOSITION
 4   TO MOTION TO DISMISS; DECLARATION IN SUPPORT; EXHIBITS 1-2 will be served or was
     served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b)
 5
     in the manner stated below:
 6
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant
 7   to controlling General Orders and LBR, the foregoing document will be served by the court via
     NEF and hyperlink to the document. On May 17, 2023, I checked the CM/ECF docket for this
 8   bankruptcy case or adversary proceeding and determined that the following persons are on the
     Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
 9
     Dare Law                                                        Counsel for U.S. Trustee
10   Office of the United States Trustee
     915 Wilshire Blvd., Suite 1850
11   Los Angeles, CA 90017

12   Email: dare.law@usdoj.gov
                                                      Service information continued on attached page
13
     2. SERVED BY UNITED STATES MAIL:
14   On (date) _______________, I served the following persons and/or entities at the last known
     addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy
15
     thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
16   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
     will be completed no later than 24 hours after the document is filed.
17
                                                     Service information continued on attached page
18
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION
19   OR EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or
     controlling LBR, on (date) _______________, I served the following persons and/or entities by
20   personal delivery, overnight mail service, or (for those who consented in writing to such service
     method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
21   declaration that personal delivery on, or overnight mail to, the judge will be completed no later
     than 24 hours after the document is filed.
22
                                                     Service information continued on attached page
23
     I declare under penalty of perjury under the laws of the United States that the foregoing is true
24   and correct.
25
       May 17, 2023                                                 /s/ Michael A. Bowse
26     Date                                                         Michael A. Bowse

27

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                                                      5
